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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION


 IN RE:

 RALPH LEVI SANDERS, JR.                                CASE NO.: 18-12969-JKO
                                                        CHAPTER: 13

      Debtor.
__________________________/


                            OBJECTION TO CHAPTER 13 PLAN

       The Bank of New York Mellon, f/k/a The Bank of New York, successor in interest to
JPMorgan Chase Bank, N.A. as Trustee for Bear Stearns Asset Backed Securities Trust
2006-SD2, Asset-Backed Certificates, Series 2006-SD2., (“Creditor”), by and through the
undersigned counsel, hereby files this objection to the Chapter 13 Plan (“Plan”) [DE # 19] and in
support, respectfully states the following:


   1) Creditor holds a lien on the following property: 561 SW 60th Ave, Plantation, FL 33317
       (the “Subject Property”) (Loan No. 9122)
   2) Creditor filed a Proof of Claim #1 (“Claim”). The Claim reflects a total secured amount
       of $409,598.99, a total secured arrearage in the amount of $170,904.85, and an ongoing
       post-petition payment of $2,862.79.
   3) As Creditor’s Claim is secured by the Debtor’s principal residence, Creditor objects to any
       modification of the terms of its mortgage loan pursuant to 11 U.S.C. § 1322(b)(2).
   4) The Proof of Claim (“POC”) Bar is set for June 22, 2018.
   5) The Plan proposes Mortgage Modification Mediation (“MMM”) with respect to Creditor’s
       claim. Pursuant to 11 U.S.C. § 1322(b)(2), the terms of the original note and mortgage shall
       remain in full force and effect unless and until the Creditor and Debtor mutually agree to a
       loan modification.
   6) The Plan proposes adequate protection in the amount of $1,649.51 per month.



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   7) While the proposed adequate protection figure complies with the 31% of gross monthly
       income requirement; Chapter 13 plans are subject to unlimited amendments, and the
       Creditor objects to any subsequent plan (prior to confirmation) that proposes a figure below
       the 31% monthly income requirement.
   8) The plan fails to include the required LMM language indicating that the plan will be
       amended/modified in accordance with the final decision mutually agreed upon by Debtor
       and Creditor.
   9) Furthermore, the Debtor has not filed an MMM Motion. As a result, the Creditor is not
       officially referred to the MMM Program. The Debtor must file the appropriate pleadings
       before the court, to coincide to the proposed plan treatment.
   10) Finally, as stated the MMM Process has not materialized as yet. As such, Creditor also
       files this Objection to preserve its rights in regards to a plan that does not conform to a
       timely filed Proof of Claim by the Creditor.
   11) Creditor objects to the proposed Plan treatment.
   12) Creditor’s claim should be treated as fully-secured until ordered otherwise by the Court.
   13) Creditor reserves the right to amend this Objection.


       WHEREFORE, The Bank of New York Mellon, f/k/a The Bank of New York,
successor in interest to JPMorgan Chase Bank, N.A. as Trustee for Bear Stearns Asset
Backed Securities Trust 2006-SD2, Asset-Backed Certificates, Series 2006-SD2, respectfully
requests that this Honorable Court sustain the objection and deny confirmation of the Plan.



                                                              /s/Scott Lewis, Esq.
                                                        Scott C. Lewis, Esq.
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 1st day of May, 2018, I served a copy of the foregoing
on the parties listed below.

SERVICE LIST

Ralph Levi Sanders, Jr.
561 SW 60 Ave.
Plantation, FL 33317

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                                                        /s/Scott Lewis, Esq.
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